Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 1 of 9




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA


    UNITED STATES OF AMERICA

           v.                                               Case No. 19-20450-CR-Scola

    ALEX NAIN SAAB MORAN, et al.,

        Defendants.



                         DECLARATION OF KENDALL WANGSGARD
                           IN SUPPORT OF MOTION TO COMPEL

          1.      I, KENDALL WANGSGARD, ESQ., am Counsel at the law firm of Baker &

   Hostetler LLP, attorneys for Defendant Alex Nain Saab Moran (“Mr. Saab”) in the above-

   captioned matter. I have entered a special/temporary appearance pro hac vice as counsel in this

   matter. See ECF No. 15 (Jan. 22, 2021); ECF No. 111 (June 21, 2022). Given my position, I have

   personal knowledge of the information addressed herein. I am authorized to make this

   declaration on behalf of Mr. Saab in support of his motion to dismiss the indictment on the basis

   of diplomatic immunity from prosecution. See ECF No. 102 (June 2, 2022).

          2.      As a member of Mr. Saab’s defense team, I regularly participate in email and

   verbal/telephonic communications among and between members of the defense team and

   members of the prosecution (in particular representatives from the U.S. Attorney’s Office for the

   Southern District of Florida and the U.S. Department of Justice’s Fraud Section (together, “the

   government”)).

                                               Exhibits

          3.      Attached hereto as EXHIBIT A is a true and correct copy of a letter dated

   November 18, 2021, from the Law Offices of Neil M. Schuster to Messrs. Kurt Lunkenheimer,
Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 2 of 9




   Esq. and Alexander Kramer, Esq., counsel for the government, regarding “DISCOVERY

   REQUEST.” Mr. Schuster and his firm are members of Mr. Saab’s defense team in this matter,

   and I have confirmed the authenticity of this letter with him.

          4.         Attached hereto as EXHIBIT B is a twenty-one-page excerpt, encompassing

   Chapter 11 (“Desperate Measures”), from the book A Sacred Oath: Memoirs of a Secretary of

   Defense During Extraordinary Times (2022) by former-Secretary of Defense Mark T. Esper.

          5.         Attached hereto as EXHIBIT C is a true and correct copy of a letter dated June

   23, 2022, from Baker & Hostetler LLP to Messrs. Lunkenheimer and Kramer regarding

   “Supplemental Discovery Request.” I was copied on the email by which this letter was

   transmitted to counsel for the government.

                              Prosecution-Defense Verbal Communications

          6.         Below I provide a high-level summary of certain significant portions of recent

   verbal communications relevant to Mr. Saab’s motion to compel. The below is not intended to be

   a transcription of what occurred, and certain details have been omitted for purposes of brevity

   and efficiency.

          7.         June 16, 2022: I attended a telephonic meeting between counsel for the

   government and counsel for Mr. Saab on June 16, 2022. During that call, among other things,

   counsel for the government stated its belief that the government had fulfilled its Brady/Rule 16

   obligations (but would continue to consider the issue) and the “prosecution team” did not possess

   material relevant to diplomatic immunity other than the recent book penned by former Defense

   Secretary Mark Esper, A Sacred Oath. Counsel for the government stated that it did attempt

   contact with former-Secretary Esper, who declined to speak with the government. Otherwise,

   counsel for the government advised, it was not aware of a requirement to proactively seek




                                                      2
Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 3 of 9




   information possessed by other federal agencies or departments because it did not believe they

   were part of the “prosecution team.” Counsel for the government did invite defense counsel to

   present the government with a contrary written argument/authority and invited defense counsel

   to also present authority regarding the contended contours of the government’s Brady

   obligations, with government counsel “happy to be convinced” and the “sooner you provide

   something educational, the more we would appreciate it.” Defense counsel agreed to provide a

   letter further articulating its position.

           8.      June 28, 2022: I attended a telephonic meeting between counsel for the

   government and counsel for Mr. Saab on June 28, 2022, following the June 23 disclosure request

   letter (Exhibit C, supra). During that call, among other things, counsel for the government stated

   that it would provide information related to governmental awareness of Mr. Saab’s status as a

   diplomat or special envoy at the time of travel “to the extent [that the] prosecution team” was

   aware of such information. But counsel for the government again stated its view that elements of

   the intelligence community, including the Department of Defense (“DOD”), the Department of

   State (“State”), and the CIA, are not part of the “prosecution team” for purposes of Brady.

   Counsel for the government did confirm that it was trying “to be helpful” and “alleviate any

   concerns,” and thus would make prudential search requests and would provide further details

   regarding the response thereto by other agencies.1 The parties agreed to work together on any

   mechanisms for expediting the review process (e.g., reviewing search term hits together to

   eliminate potential false hits). The parties also agreed to consider an adjournment (which




   1
    Counsel for the government also stated that while it did not necessarily think it had an
   obligation to do so, it was seeking information from Cape Verde via MLAT based on certain
   defense requests but would not be seeking additional information from other countries (e.g.,
   Colombia or Venezuela).


                                                    3
Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 4 of 9




   thereafter occurred, see ECF No. 114 (July 5, 2022)) because there was simply not enough time

   to complete the searches and reviews before the then-scheduled brief deadline.2

          9.      July 12, 2022: I attended a telephonic meeting between counsel for the

   government and counsel for Mr. Saab on July 12, 2022. During that call, among other things,

   counsel for the government stated that it had requested materials from DOD, State, and the CIA

   on an expedited basis, though it did not believe it was legally required to do so under either

   Brady or Rule 16. It advised that State had not yet responded, the review of CIA materials would

   begin the following week, and DOD had begun a search that was anticipated to yield results by

   August 22. Regarding the Department of Treasury/OFAC, government counsel had not sought,

   and was not intending to seek, information. Finally, regarding DOJ’s own materials, the

   government stated that it had not made any formal request of either the Office of International

   Affairs (“OIA”) or the National Security Division (“NSD”), but would internally discuss defense

   counsel’s request for information possessed by these DOJ components.

          10.     August 9, 2022: I attended a telephonic meeting between counsel for the

   government and counsel for Mr. Saab on August 9, 2022. Regarding DOJ materials, the

   government stated that, setting aside OIA, it would be able to meet the August 15 deadline set by

   the Court, see ECF No. 116 (July 15, 2022), with respect to non-classified materials. It advised

   that this would not be a substantial production. Regarding OIA, counsel for the government

   advised that it had identified 55,000 potentially relevant unclassified OIA emails based on search

   terms and time parameters, which it hoped would be reduced in number by deduping. Counsel



   2
     The Parties advised the Court on June 30, 2022 that “[a]lthough the Parties do not necessarily
   agree on the scope of the government’s Brady and Rule 16 obligations, the government has
   agreed to search its own records and to request the Department of State, Department of Defense
   and the Central Intelligence Agency to search their records for documents responsive to many of
   the Defendant’s requests.” See ECF No. 113 (June 30, 2022).


                                                    4
Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 5 of 9




   for the government warned that it would be unable to complete this OIA review by August 15

   and indicated that OIA counsel also had asked for the opportunity to review materials and claim

   any privilege it felt was applicable before any OIA documents were produced.

          11.     Regarding State, the government reiterated that it had requested State to search,

   which request State acknowledged having received. The government indicated that it understood

   State was in the process of responding to the request. However, State did not provide a date

   certain for determining the volume of materials or when a production could be made. The

   government also advised that it anticipated litigation regarding classified materials under the

   Classified Information Procedures Act (“CIPA”).

          12.     Regarding Treasury, the government reiterated that it would not seek information

   from Treasury at this time.

          13.     The government also reiterated that it expected the “next update” from DOD on

   August 22.

          14.     August 15, 2022: On August 15, 2022, the government sent defense counsel a

   two-page “summary of unclassified information” letter. In its letter, DOJ stated that it searched

   for material “in the possession of the DOJ investigative team assigned to this criminal case,”

   specifically “reports contained by the Drug Enforcement Administration (“DEA”), the Federal

   Bureau of Investigation (“FBI”), Homeland Security Investigations (“HIS”) [sic] and Customs

   and Border Protection (“CBP”).” The letter proceeded to briefly summarize two things: (1) some

   “DEA Reports of debriefs of your client that were produced in discovery”; and (2) DEA

   telephonic interviews with a source of information (“SOI”). Apparently, in May 2020, the SOI

   “stated that he/she had learned that nominal Venezuelan President Nicolas Maduro had brought

   in Colombian Alex Saab Moran to be in charge of sales of crude oil produced in Venezuela.”




                                                    5
Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 6 of 9




   According to the SOI, Saab Moran works directly with Mexican businessmen to export crude oil

   to Mexico and bring fuel and other essential goods to Venezuela and he does this “under the

   supervision of Maduro.” The letter also advises that the SOI “recently” (no date is given)

   provided conflicting statements that Saab Moran was working as a private citizen and not in an

   official capacity.

           15.     The letter also contained an ambiguous and unsourced third paragraph, obliquely

   stating that “the information that led to Saab Moran’s detention in Cape Verde, was that Saab

   Moran was traveling to Iran from Venezuela, and that he was traveling with an Iranian

   delegation.” The letter does not elaborate where, when, why, or from whom, this “information”

   was obtained, or provide any details about the substance of the information, such as the meaning

   of the phrase “Iranian delegation.”

           16.     August 16, 2022: I attended a telephonic meeting between counsel for the

   government and counsel for Mr. Saab on August 16, 2022. Counsel for the government stated

   that the summary letter from the day prior constituted the entire disclosure of non-classified DOJ

   materials (other than from OIA).3 The government also stated that the four entities mentioned in

   the summary letter—i.e., DEA, FBI, HSI, CBP—were the entities for which information was

   searched, and that it had asked those entities only to search for “reports,” not any other types of

   documents, such as emails, texts, communications, notes, memoranda, etc., that might be

   relevant to the Rule 16 and Brady requests. In addition, government counsel acknowledged that

   it had not sought materials from other components of the Department of Justice (other than OIA,



   3
     Defense counsel requested the materials, even in redacted form, supporting the summary letter
   to specifically include the DEA Form-6 reports. Defense counsel further stated that it was not
   seeking the name of the Source of Information, but the supporting content for the summary
   letter, the basis for the disclosure, and potentially contradictory statements made by the Source of
   Information. Counsel for the government took this under advisement.


                                                     6
Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 7 of 9




   and one civil division attorney who was working with the State Department). In particular, they

   had not requested documents from the NSD. When defense counsel suggested that government

   counsel call NSD and speak with someone to identify the division’s relevant record custodians so

   as to develop a search plan, the government replied that it would discuss the matter internally.

   Regarding OIA, the government indicated that it had narrowed/de-duped the unclassified OIA

   emails from approximately 55,000 to 39,000 and was beginning to review them. When asked

   how long it would take to review the OIA emails, the government responded that it might take 2-

   3 weeks but was not sure, and it would update defense counsel before the August 26 status

   conference.

          17.     Regarding State materials, the government advised that it had not received any

   further information from State beyond that State was pulling together information. Further,

   counsel for the government advised, State is aware of this Court’s upcoming status conference

   on August 26, 2022, and hopefully there would be further clarity by then. The government

   reiterated that it anticipated CIPA litigation over classified documents and did not know if all

   State materials would end up being classified.

          18.     Regarding DOD, counsel for the government stated that DOD was still slated to

   provide a sense of volume of materials by August 22, but not actual documents by that date.

          19.     August 24, 2022: I attended a telephonic meeting between counsel for the

   government and counsel for Mr. Saab on August 24, 2022. Regarding the August 22 response

   date provided by DOD, counsel for the government relayed that DOD had neither met that

   deadline nor provided any other update or any documents to counsel for the government.

          20.     Regarding OIA, counsel for the government stated that it had reviewed about one-

   third of the non-classified side and the projected completion date (in an additional 2-3 weeks)




                                                    7
Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 8 of 9




   was still an accurate estimate. However, with respect to other DOJ components such as NSD,

   government counsel stated that it was not expanding the search beyond what it “traditionally

   considers the prosecution team [and] investigative agencies involved” plus OIA and one other

   Civil Division attorney involved in the extradition process. The government stated that it has

   conducted no searches of any NSD materials. Counsel for the government further stated that they

   would not search any emails of DOJ trial attorneys or Assistant U.S. Attorneys.

           21.        Regarding State, counsel for the government advised that State had completed its

   internal review and pull of documents and was in the process of transferring the unclassified

   emails/documents to the DOJ review platform. Although counsel for the government did not yet

   know the specific volume of documents, they understood from preliminary estimates that there

   would be about 2,200 unclassified State records for review and perhaps an equal amount on the

   classified side.

           22.        Regarding the August 15 summary letter, counsel for the government confirmed

   that it would not produce any underlying documents, including the DEA Form-6 reports, and that

   the government “stands by the summary.” Further, counsel for the government stated that it

   believes communications relevant to Mr. Saab’s plane being stopped in Cape Verde were

   telephonic, but there “potentially” could be notes from the case agent. Defense counsel again

   requested the production of all documents and information related to the summary provided in

   the letter, as well as the identities of all persons who might have relevant information about the

   communications concerning Mr. Saab’s plane. Counsel for the government stated that by

   providing the summary in the letter they had satisfied their Brady obligations.4 Counsel for the



   4
     However, when listening to the verbal description of the support for the summary in the letter,
   it was defense counsel’s assessment that the government’s explanation was not consistent
   between the calls where it was discussed.


                                                      8
Case 1:19-cr-20450-RNS Document 123-1 Entered on FLSD Docket 08/25/2022 Page 9 of 9




   government also stated that they had checked with the lead case agent, who confirmed that he

   did not have any responsive text communications, but the government had not expanded its

   review further to either (1) other agents or personnel on the “investigation team” or (2) other

   forms of communications (such as emails, notes, etc.) beyond reports and “cables.” Defense

   counsel disagreed with the government’s narrow view of its Rule 16/Brady obligation to search

   for and produce requested documents, records and communications.

          23.     Counsel for the parties also discussed potential CIPA litigation, the government’s

   anticipated filing of a CIPA Section 2 Notice in the coming days, and the Defendant’s

   anticipated fling of this motion and a motion for remote (Zoom) testimony at the evidentiary

   hearing.



   I declare under penalty of perjury that the foregoing is true and correct.

   Dated: August 25, 2022
   Washington, DC

                                                                 ___________________________
                                                                 Kendall Wangsgard




                                                     9
